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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

LARRY RODRIGUEZ,                        §
                                        §
              Petitioner,               §
                                        §
V.                                      §         No. 3:21-cv-2731-E
                                        §
UNITED STATES OF AMERICA,               §
                                        §
              Respondent.               §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions, and recommendation for plain error. Finding

none, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge.

        SO ORDERED this 3rd day of December, 2021.




                                      ____________________________________
                                      ADA BROWN
                                      UNITED STATES DISTRICT JUDGE
